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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


     INTERNATIONAL ASSOCIATION OF            )
     MACHINISTS AND AEROSPACE                )
     WORKERS, AFL-CIO, LOCAL LODGE           )
     NO. 1821, et al                         )
                                             )
                 Plaintiffs,                 )
                                             )
           v.                                )    Civil No. 1:14-cv-00530-JAW
                                             )
     VERSO CORPORATION, et al                )
                                             )
                 Defendants.                 )

                                    JUDGMENT


            Pursuant to the Order on Motions to Dismiss dated December 14, 2015,

      the Plaintiffs’ First Amended Complaint is DISMISSED and Count Nine in

      Plaintiff’s First Amended Complaint is DISMISSED without prejudice.

            JUDGMENT is hereby entered in favor of Defendants Verso Paper

      Corporation, Verso Paper LLC, and AIM Development (USA) LLC against

      Plaintiffs International Association of Machinists and Aerospace Workers AFL-

      CIO Local Lodge No. 1821, Richard Gilley, Corey Darveau, Brian Simpson, Brian

      Abbott, Harold Porter and Fifty-Three Local No. 1821 Members.

                                                 CHRISTA K. BERRY
                                                 CLERK


                                       By:       /s/Jennifer L. Gray
                                                 Deputy Clerk


Dated: December 15, 2015
